                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                               ST. JOSEPH DIVISION

SHERRI JOHNSON,                                   )
401 South Washington St.                          )
Oregon, MO 64473,                                 )
                                                  )
                       Plaintiff,                 )   Case No.:
                                                  )
                                                  )   JURY TRIAL DEMANDED
vs.                                               )
                                                  )
                                                  )
JACOBSON TRANSPORT, INC.                          )
Serve:                                            )
Joseph E. Rebman                                  )
165 N MERAMEC AVE STE 310                         )
ST. LOUIS MO, 63105                               )
                                                  )
                       Defendant.                 )

                                           COMPLAINT

       COMES NOW Plaintiff Sherri Johnson, through counsel, against Defendant Jacobson

Transport, Inc., and states and alleges:

       1.      Plaintiff is an individual who resides in Oregon, Holt County, Missouri.

       2.      Defendant Jacobson Transport, Inc. is a foreign corporation in good standing,

operating and existing under the laws of North Dakota, and doing business throughout the

United States including, but not limited to, the State of Missouri.

       3.      Defendant Jacobson Transport, Inc. may be served through its registered agent as

stated in the caption above.

       4.      At all times relevant to this Complaint, Defendant Jacobson Transport, Inc. acted

through its agents or employees, including Jonathan Lee McDonald.

       5.      This cause of action occurred in Holt County, Missouri.




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           6.      Venue and jurisdiction, therefore, are properly before this Court.

           7.      On February 28, 2020, at approximately 5:30 a.m., Plaintiff Sherri Johnson was

driving northbound on Interstate 29 in Holt County, Missouri.

           8.      As said time and place, Jonathan Lee McDonald was driving a 2015 Volvo

Conventional hauling a tanker trailer (“the trailer”) on southbound on Interstate 29 in the course

and scope of his employment with Defendant Jacobson Transport, Inc.

           9.      At said time and place, a tire and wheel detached from the trailer Johnathan

McDonald was transporting.

           10.     The wheel and tire struck the front driver’s side of Plaintiff Sherri Johnson’s

vehicle, as she was travelling in the northbound, driving lane of Interstate 29.

           11.     After being struck by the wheel and tire, Plaintiff Sherri Johnson’s vehicle

traveled off the west side of the northbound lanes of Interstate 29 and came to rest in the grass

median, facing northwest.

           12.     Upon information and belief, at all times relevant to this Complaint, Defendant

Jacobson Transport, Inc., through its agents and employees, had exclusive control over the

trailer.

           13.     At all times relevant to this Complaint, Defendant Jacobson Transport, Inc. had a

duty to inspect, service, and maintain the trailer to ensure it was safe for interstate travel before

placing it on the public roadway.

           14.     Upon information and belief, Defendant Jacobson Transport, Inc. failed to inspect

the trailer before placing it on the interstate on February 28, 2020.




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        15.     Upon information and belief, Defendant Jacobson Transport, Inc. failed to

adequately service and/or maintain the trailer to be safe for interstate travel on February 28,

2020.

        16.     Upon information and belief, Defendant Jacobson Transport, Inc. has superior

knowledge about the cause of the detachment of the wheel and tire from the trailer.

        17.     The wheel and tire would not have detached from the trailer if Defendant

Jacobson Transport, Inc. had not been negligent.

        18.     As a direct and proximate result of Defendant Jacobson Transport, Inc.’s

negligence, Plaintiff Sherri Johnson suffered comminuted fracture of the proximal left third and

fourth metatarsal in her left foot, which requires surgery and hardware; a hip bursitis in her right

hip; a labrum tear in her right hip; neck and back sprains and strains; she has suffered and will

continue to suffer pain and anguish; has incurred and will incur in the future substantial expense

for medical attention; and suffered lost wages, all to her damage in an amount in excess of

Seventy-Five Thousand Dollars ($75,000).

        WHEREFORE Plaintiff Sherri Johnson prays for judgment against Defendant Jacobson

Transport, Inc. in an amount in excess of $75,000, for her costs and expenses incurred, and for

such other relief as the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

        Pursuant to Federal Rules of Civil Procedure 38(b), Plaintiff requests a trial by jury of all

issues triable as of right.




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                                Respectfully submitted,

                                MONTEE LAW FIRM, P.C.

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